Case 5:11-cv-11766-JCO-MKM ECF No. 1, PagelD.1 Filed 04/22/11 Page 1 of 26

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA § Claim Nos.:
2011A05879/2011A05887/2011A05892
§

VS. §
§

Dawn E. Misner

 

 

 

COMPLAINT

 

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

The United States of America, plaintiff, alleges that:

Jurisdiction

1. This Court has jurisdiction over the subject matter of this action pursuant to Article III,

Section 2, U.S. Constitution and 28 U.S.C. § 1345.
Venue

2. The defendant is a resident of Oakland County, Michigan within the jurisdiction of
this Court and may be served with service of process at 161 Holly Hock Lane, Ortonville,
Michigan 48462.

The Debt
First Cause of Action - Claim Number: 2011A05879

3. The debt owed the USA is as follows:

A. Current Principal (after application of all $4,084.42
prior payments, credits, and offsets)

B. Current Capitalized Interest Balance and $6,336.75
Accrued Interest

C. Administrative Fee, Costs, Penalties $0.00
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D. Credits previously applied (Debtor payments,
credits, and offsets)

E. Attorneys fees
Total Owed — Claim Number 2011405879

Second Cause of Action - Claim Number: 2011A05887

4, The debt owed the USA is as follows:

A. Current Principal (after application of all
prior payments, credits, and offsets)

B. Current Capitalized Interest Balance and
Accrued Interest

C. Administrative Fee, Costs, Penalties

D. Credits previously applied (Debtor payments,
credits, and offsets)

E. Attorneys fees
Total Owed — Claim Number 2011A05887

Third Cause of Action - Claim Number: 2011A05892

5. The debt owed the USA is as follows:

A. Current Principal (after application of all
prior payments, credits, and offsets)

B. Current Capitalized Interest Balance and
Accrued Interest

C. Administrative Fee, Costs, Penalties

D. Credits previously applied (Debtor payments,
credits, and offsets)

E. Attorneys fees
Total Owed — Claim Number 2011A05892

TOTAL OWED (Claim Numbers 2011A405879/2011A05887/2011A405892)

Page 2 of 26

$0.00

$0.00
$10,421.17

$604.00

$1,439.29

$0.00
$0.00

$0.00
$2,043.29

$392.00

$394.36

$0.00
$0.00

$0.00
$786.36

$13,250.82

The Certificates of Indebtedness, attached as Exhibits "A", "B", and “C”, show the total
Case 5:11-cv-11766-JCO-MKM ECF No. 1, PagelD.3 Filed 04/22/11 Page 3 of 26

owed excluding attorney's fees and CIF charges. The principal balance and the interest balance
shown on the respective Certificates of Indebtedness, are correct as of the date of the Certificates
of Indebtedness after application of all prior payments, credits, and offsets. Prejudgment interest
accrues at the rate of 8.000% per annum or $0.89 per day on Claim Number 2011A05879,
8.000% per annum or $0.13 per day on Claim Number 2011A05887, and 5.000% per annum or
$0.05 per day on Claim Number 2011A05892.
Failure to Pay

4, Demand has been made upon the defendant for payment of the indebtedness, and the
defendant has neglected and refused to pay the same.

WHEREFORE, USA prays for judgment:

A. For the sums set forth in paragraphs 3, 4, and 5 above, plus prejudgment

interest through the date of judgment, all administrative costs allowed by law, and post-judgment
interest pursuant to 28 U.S.C. § 1961 that interest on the judgment be at the legal rate until paid

in full;

B. For attorneys’ fees to the extent allowed by law; and,

C. For such other relief which the Court deems proper.

Respectfully submitted,

By: s/Charles J. Holzman (P35625)
Holzman Corkery, PLLC
Attorneys for Plaintiff
Tamara Pearson (P56265)
28366 Franklin Road
Southfield, Michigan 48034
(248) 352-4340
usa@holzmanlaw.com
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U. S. DEPARTMENT OF EDUCATION
SAN FRANCISCO, CALIFORNIA

CERTIFICATE OF INDEBTEDNESS #1 OF 3

Dawn E. Misner

aka: Dawn Misner

161 Holly Hock Lane
Ortonville, MI. 48462-9404
Account No:

I certify that U.S. Department of Education records show that the borrower named above is indebted to
the United States in the amount stated below plus additional interest from 09/21/10.

On or about 01/21/87 and 10/02/87, the borrower executed promissory note(s) to secure loan(s) of
$2,500.00 and $2,625.00 from TCF Banking and Savings, F. A., Minneapolis, MN. This loan was
disbursed for $2,500.00 and $1,313.00 on 04/14/87 and 04/13/88 at 8.00 percent interest per annum. The
loan obligation was guaranteed by Higher Education Assistance Foundation, and then reinsured by the
Department of Education under loan guaranty programs authorized under Title IV-B of the Higher
Education Act of 1965, as amended, 20 U.S.C. 1071 et seq. (34 C.F.R. Part 682). The holder demanded
payment according to the terms of the note, and credited $0.00 to the outstanding principal owed on the

loan. The borrower defaulted on the obligation on 02/10/91, and the holder filed a claim on the loan
guarantee.

Due to this default, the guaranty agency paid a claim in the amount of $4,084.42 to the holder. The
guarantor was then reimbursed for that claim payment by the Department under its reinsurance
agreement, Pursuant to 34 C.F.R. § 682.410(b) (4), once the guarantor pays on a default claim, the entire
amount paid becomes due to the guarantor as principal. The guarantor attempted to collect this debt from

the borrower. The guarantor was unable to collect the full amount due, and on 12/03/93, assigned its right
and title to the loan to the Department.

Since assignment of the loan, the Department has credited a total of $0.00 in payments from all sources,

including Treasury Department offsets, if any, to the balance. After application of these payments, the
borrower now owes the United States the following:

Principal: $ 4,084.42
Interest: $ 6,146.97
Total debt as of 09/21/10: $10,231.39

Interest accrues on the principal shown here at the rate of $0.89 per day.

Pursuant to 28 U.S.C. § 1746(2), I certify under penalty of perjury that the foregoing is true and correct.

Executed on: “7 |>2 | Ip ue LAL.

po Loan Analyst
Litigation Support

Peter La Roche
Loan Analyst
Case 5:11-cv-11766-JCO-MKM ECF No. 1, PagelD.5 Filed 04/22/11 Page 5 of 26

.f , PLEASE PRINT CLEARLY IN INK
BE SURE TO PUT YOUR INITIALS BY ANY CORRECTIONS YOU HAVE TO MAKE.

GUARANTEED STUDENT LOAN PROMISSORY NOTE
A. IMPORTANT — READ THIS INFORMATION CAREFULLY Your
The terms “I” and “me” refer to the borrower. Your Address

| will read the Promissory Note before | fill it out. If | have any questions, | will ask my | Your
Jender. If |.don’t know who my lender will be, | will contact. my school or HEAF. .

    
 
 
 

Your Name

    
 

  
 
  
 

P é
When the lender accepts my signed Promissory Note with niy application, thé lender is not necéssarily agréeing to lend me the money. The lender has the right not to
make a loan or lend an’ amount less than the Loan Amount Requested. | will be required to repay only the amount of money that the lendér lends. Laws and -
regulations may not allow the lender to lend me as much as | have asked for. . .
After HEAF has agreed to guarantee my loan, the lender will send me a Disclosure Statement. The Disclosure Statement will tell me:
a} the total dollar amount of my loan _c) the dollar amount of the origination fee | will pay e) my disbursement schedule (when | will get my loah checks)
b) the interest rate | will pay d) the dollar amount of the quarantee fee | will pay f) how long my grace period will be .
Some of the terms on my Disclosure Statement may be different from what they are on the Promissory Note. If they are different, the terms onthe Disclosure Statement .
apply instead of what is on this Note. If! am not satisfied with the new terms, | may cancel the agreement. If | do wish to cancel this agreement, | will contact my
lender immediately and | will not cash any loan checks. ‘ ‘
J will be sure to check the Disclosure Statement as soon as | get it and let my lender knew it anything looks wrong or. if | have any questions.

« . B. PROMISE TO PAY . tp tee t ,
3 PN Osan) Manes) promise to pay té the order of _TGF Bariking ‘and Savings, F.A.
{Print Your Name as Borrower) . . ”

Minneapolis, MN 55402

of the following amounts:

- “ eeprom 5 = see Pye aaa Eee SS ee F? DETERWIENT: ee nae
The entire Loan Amount Requested or such lesser amount as Is loaned. LOAN AMOUNT | understand that in certain instances authorized by the Act the payments | am required to make

under Section D may be deferred. The instances currently authorized by the Act are described on

 

ot B 5 OP te "the TeVerse side of this Note’ To obtain such deferment, | Sgree to comply with thé relevant federal
(EQUESTED: Z regulations and the Rules and Regulations of,the HEAF, including; without limitation, submission of
Interest on the unpaid principal balance. The applicable interest rate on this loan will be figured required forms to the lender. '
in the following manner: If | have an unpaid principal balance on a Guaranteed Student Loan G. MODIFICATION. OF REPAYMENT TERMS

having an applicable interest rate of 6%, the applicable interest rate on this loan will be 7%. If | te inne f os net ah eee .
have an unpaid principal balance on a Guaranteed Student Loan having an applicable interest ‘fl am unable i repay this Ioan in accordance with the terms established under Section D, | may
rate of 7%, 8%, of 9%, the applicable interest rate on this loan will be the same as thatof my other terete a that a: olin ay Nef repay ater ue der eed on the reverse side of this Note. |

. ‘ HGabie int mn De The.same as thato my othe . rent from Defermen
loan(s}, If! have'no outstanding Guaranteed Student Loans, my applicable interest rate on this {Section F} and that during this period | will remain responsible for payment of interest which the:

loan will be BY, : " we EAT ol
{ further understand that if | am eligible for federal interest benefits, the interest will be paid by '@0der may (a) collect from me on a periodic basis or (b) add to the principal balance of the loan.

the Secretary of Education (Secretary) (a) during the period | am in schopl on at least a half-time . . H. DEFAULT. & ACCELERATION
basis, (b) during the grace period described in Section D below, and (c}'duritig the time my loan if | default on this loaHi, the lender’ may declare the entiré unt

 

 

 

1 paid amount of the loan, including
payments are deferred as allowed by Section F below. eaten to tl. interest and applicable late charges, immediately due and payable. A default niay also make me
The guarantee fee (which is .75% per afinum of the Loan Amount for the anticipated in- ineligible for the benefits described under DEFERMENT and REPAYMENT in this Promissory Note.
school period plus six months). The fee will be deducted from the initial disbursement. This Under ‘HEAF-regulations gbvernirig thé GSLP, any of the following: events is a ‘default:

charge is not subject to refund except for the amount attributable tc any disbursement! do 4} Failing to make any payment when due.

not receive, which will, at the lender's option, be applied to my loan balance-or be returned 9} Making any false representation for-the purposes of obtaining this, foan.-

tome. oy . aan , 3} Using the loan proceeds ‘for other'than educational purposes. :

The Origination Fee, which will be deducted from the proceeds of the Joan. The, fee is deter- 4). Failing to enroll inthe, schoo! that completed the application for the time identified as my loan
fnined by federal law and will be reflected’ pn my disclosure statement. This charge is not périod, . " ; ;

subject to refund except for the amount attributable to any disbursement | do not receive. 5) Not notifying the lender immediately if | (a) Urop to Jess than a half-time student, (b} change my

C. GENERAL . ;
‘derstand that the lender has applied for guarantee coverage of this loan through the Higher te - wo eel, .
cation Assistance Foundation (HEAF) and because of this; the loan is Subjectto,andtheterms of ff | default; | will also pay all charges and other costs’ — including attorney's fees — that are
Promissory Note will be interpreted in accordance with, Sub-chapter IV, Part’B of the Higher... permitted by federal law and feguiations for-the collection of these amounts. If this loan‘is referred
catién Act of 1965 (the “Act”) as amended, federal regulations adopted under the Act, and the for collection to an agency that is subject to the Fair Debt Collection Practices Act, | will pay collec-
's and Regulations of HEAF. To the extent not governed by federal law, this Note shall be gov- tion costs not to exceed 25 percent of the unpaid principal and accrued interest. Declaring. these
id by the laws of the jurisdiction in which the lender is located. su , ' amounts immediately due and payable is at the option of the lender, which it may do only. after
D. REPAYMENT complying with applicable notice and.other requirements of law. Failure tp exercise this option does
| repay this loan in periodic installments during a repayment period that will begin no tater than bt constitute a waiver of the lender's right to exercise the option at a later date: If | default, the
end of my grace period. However, during the grace period | may request that the repayment lender may endorse this Promissory Note to HEAF. | will then be required to pay HEAF all amounts
td begin earlier. The grace period begins when | cease to Garry at least one-half'the normal owed. : oa .
Jemic workload at a school that is participating in the Guaranteed Student Loan Program (GSLP). Looe I, CREDIT BUREAU NOTIFICATION
The Secretary will pay the interest that accrues on this loan prior to the repayment period and ff default on this loan, the lender or HEAF may report the default to credit bureau organizations. This
during any deferment period, if it is determined that | qualify to have such payments made on —_ may significantly and adversely affect my credit rating. The lender must provide information on the
my behalf under the regulations governing the GSLP. In the event the interést oy this loan is repayment status of this loan to any credit bureau organization upon my request. If not otherwise
payable by the Secretary, the lender may not attempt to collect this interest from me. | may, prohibited by law, the lender may disclose information about the status of this [oan to any credit
however, choose to pay this interest myself. . _ bureau organizations. . ot a
‘Once the repayment period begins | will be! responsible for payment of all the interest that . i Jd. LATE CHARGES
accrues on this loan, except that if the interest accruing on this loan prior to the repayment — jg permitted by law, the lender may collect from me a late charge if | fail to make any partof ap
period was payable by the Secretary, the Secretary will pay the interest that accrues during instalment payment within 10 days after it is due, unless ! provide documentation that | am entitled to
any period described under DEFERMENT in this Promissory Note, . ig. [lave the payment deferred as described under DEFERMENT in this Promissory Note. A late charge
The lender may add any interest to the unpaid principal balance of this Joan that is not paid - ‘inay not exceed $5 or 5% of an installment, whichever anount is‘less.
when it is due, in accordance with regulations of HEAF governing the GSLP. | will tepay this . . : .
loan within 15 years of the date of this Promissory Note, over a repayment period that generally a a .
lasts at least 5 years but no more than 10 years, However, the following exceptions tothese . ” - NOTICE TO BORROWER
rules apply: (a) DO NOT SIGN THIS PROMISSORY NOTE BEFORE YOU READ IT.
a) The lender may require a repayment period shorter than five years to ensure that the pay- (b) YOU ARE ENTITLED TO A.COPY OF THIS PROMISSORY NOTE,
ments of ail miy loans, GSL and PLUS, including those of my spouse, are.at least $600.00 per {c} YOU MAY PREPAY THE UNPAID'BALANCE AT ANY TIME WITHOUT PENALTY.
annurn or tne paid principal balance, whichever is less. These terms apply to all holders (d) IE YOU HAVE.ANY QUESTIONS OR WISH TO CANCEL THIS LOAN 1) DD NOT. CASH
of my loans, an . ’ .
b) Any period described under DEFERMENT in this Promissory Note or any period for which -

THE LOAN CHECK(S) AND 2) CONTACT YOUR LENDER.

the lender has granted forbearance will not be included in determining the 5-: 10-,and oo - . a . :

15-year periods mentioned above, SS ct) Werner u
if, during the grace period, | request a shorter repayment period, the lender may grant me a —— + 4 2, /- so?
period shorter than 5 years. In that event, | may later choose to have the répayment period “2 San Your Name. . Today's Date .
extended to.5 years. : o \ wo ‘ . ,
| must contact the lender prior to expiration of my grace period to negotiate the terms of
repayment. If | neglect to do so, | hereby authorize the lender to establish repayment terms
withii the guidelines set forth in Paragraph 3 of this section, without my further approval; —_~ , a Tt :
however, the lender must inform me of these terms in writing at the latest address that | h- Your Endorser's Signature {if any) . . ‘Today's Date
provided to the lender. : .
My obligation to repay this loan shall be cancelled if ! become totally and permanently disa

graduation date, {c) change my name or (d) change my address.

 

 

 

 

 

 

or die.
articular terms and conditions of repayment that apply to this loan will be set forth ina sepi MISNE R a LAWN a
ent, known as a repayment schedule, that the lender will provide to me before the repay Cc LA IM NG i 993 C

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d begins. E. PREPAYMENT SSN ©8433 12-G3-93 demand, pre-
‘option and without penalty, | may prepay at any time all or any part of the unpaid prir 13 i d acknowledges

ce of this Note. In the event of prepavment. [ mav he entitled tna refund nf unaarned ints
Case 5:11-cv-11766-JCO-MKM ECF No. 1, PagelD.6 Filed 04/22/11 Page 6 of 26

 
Case 5:11-cv-11766-
JCO-MKM ECF No. 1, PagelD.7 Filed 04/22/11 Page 7 of 26

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AFFIX TO BACK OF PROMISSORY NOTE os
SYMENT

Higher Education Assistance Foundation (“HEAF") without bayme ts th
jowever, notwithstanding this indorsement without recourse, ferre d 5 a t th lam required to make under Section
er the repayment
iced period bégins, be
ural requirements set forth in the regulations

Pay to the order of
recourse, provided, h
the undersigned hereby expressly:

4, Warrants that:
a) no defense of any party is good against the undersigned; and \

b) the undersigned is not in default under the terms of that certain Lender Agree-

ment for Guarantee of Student loans with Federal Reinsurance (“Lender p (howe Le.

Agreement’) between it and HEAF, in accordance with which payment of ver, only citizens or nationals may attend
the indebtedness evidenced by thi instrument was guaranteed by HEAF. en

ed warranty that it
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has no knowledge of an

2, Disclaims the impli
ker of this instrument and instead wat-

ceeding instituted with respe!
rants that to the extent it has
the same to HEAF, but no other implie

knowledge of any such proceeding it has disclosed if E :
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iproved by the Secretary of Education

 
 
   

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a) upon n payment i in
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of its obligations to the undersi

b) notwithstanding payment by

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i "has not waived any rights that it may

to the terms of the aforesaid Lender A

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HSCA Claims Gupervisor

 

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“MODIFICATION OF REPAYMENT TERMS “

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1) A short period of ti
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| understand :that dur
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collet ftom i A: will. remain ‘responsib!
e ofa periodic basis:or.(b) add to the. principal efor payment of interest which the lender may (a)
an.

“REPAYMENT BY DEPARTMENT OF: DEFENSE |

Under certain circumstances, m
stances, military :
cordance with Section 902 ry personnel may have their | 7 .
of the Department of D J their loans repaid by the S
efense Authorization A ecretary of Defense, i
ot, 1981 (P.L. 96-342, 10 U. Mt note)
S.C. 2141, note.)

‘Questions concernin
g the pro
program should be addressed to the: local Service recruiter. The
program described is a

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Armed Forces. not pertain to prior service individuals or those not eligibl
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Case 5:11-cv-11766-JCO-MKM ECF No. 1, PagelD.9 Filed 04/22/11 Page 9 of 26

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HIGHER EDUCATION ASSISTANCE FOUNDATION _<¢ aterlandercompltosapacaton, «LENDER COPY GUARANTEED’ STUDENT LOAN
PO. BOX 64107 © ST. PAUL, MN 55164 mal HEAF copy only to his acess (GSL) APPLICATION/
PROMISSORY NOTE

 
  

 

  

1. NAME (NO NICKNAMES)

 

 

2 SOCIAL SECURITY NUMBER 3. WHEN WERE YOU BORN?
Fe . mas
ust MASE R, fe | | Lo
4, PERMANENT ADDRESS 5. PERMANENT HOME PHONE

 

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6. U.S, CITIZENSHIP STATUS (CHECK ONE) ALIEN 1D NUMBER IF APPLICABLE 7. PERMANENT RESIDENT |8a, DRIVER LICENSE NL NUMBER (IF YOU DO NOT HAVE A LICENSE, 8b. STATE IN
US.CITZEN OR |) PERMANENT RESIDENT OR OF WHICH STATE WHICH ISSUED
NATIONAL OTHER ELIGIBLE ALIEN ‘

 

 

 

 

9, ADDRESS WHILE IN SCHOOL (STREET, CITY, STATE, ZIP}

me As Bove

10. PHONE AT SCHOOL ADDRESS 11. MAJOR COURSE OF STUDY; HE q a 13. LOAN PERIOD “
S 70
|

( 3) 3 ) 4 7 G- -S 530@ SEE INSTRUCTIONS — Bo A?

PRIOR LOAN INFORMATION
—i4, “HAVE YOU VER DEAD ON

C] YES (GIVE DETAILS ON SEPARATE SHEET)

 

 

 

 

  
 
 

   

    

LX YES (GO TO 15b) 6 6070 ona)

 

 

 

 

 

 

 

16. UNPAID PRINCIPAL BALANCE OF MOST RECENT SL [17. GRADELEVEL OF OST TRECENT GS 18, LOAN PERIOD START DATE QE MOST RECENT GGL 19. WTEREST RATE OF MOST RECENT GSL
’ 2Geo ZL | 7 1 4 187 | Om Be— Om
U HAVE ANY N 2b. IF YES, TOTAL UNPAID 21a, DO YOU HAVE ANY UNPAID 2b IFVES, TOTA
a SUS(ALAS) on (VES (60 10206) ANGPALBALANGE OF PRIOR yg p>. UNDERGRADUNTE STUDY S_______ | PLUSLOANS IF YoU g Bn | aN oO PAGER BALANDE
PLUS LOANS? "Ey (G0 70 21a) (ALAS) EMVED “GRADUATE STUDY $.__--_  THEPLUS LOAN PROGRAM? (GOTO 222) [PAS

 

 

 

 

— (vourusT PROVIDE THREE DIFFERENT NAMES, WITH DIFFERENT U.S, ADDRESSES AND PHONE NUMBERS)

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E PHONE

 

2a, SIGNATURE OF BORROWER {APPLICATION CANNOT BE P| OCESBED WITHOUT ire : 23b, DATE BORROWER SIGNED
~ . YY

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24. NAME ‘OF a te , 25) WG EH AEB cop

25, ADDRESS (STREET, CITV,STATE, ZIP)

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34; ADJUSTED GROSS IZ uA tes rf OF ATTENDANCE FOR LOAN PERIOD = [36. ESTIMATED FINANCIAL AID FQR LOAN ‘137. EXPECTED FAMILY CONTRIBUTION =a! 28. DIFERENDE ITEM 35 LESS
_ O YO) QO O PERIOD O apeyeoiyum
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40. D0 OF | C7 | 41, WILL THE STUDENT ATTEND A FOREIGN SCHOOL? 42, SCHOOL USE ONLY
CORRESPOND TO SCHOOL TERMS? /
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J HAVE READ, | UNDERSTAND, AND | AGREE TO THE| | 43a/ SIGA
TERMS OF THE SCHOOL CERTIFICATION PRINTED é
ON THE REVERSE SIDE OF THIS APPLICATION.

SECTION - 70 BE COMPLETED Bi

 

 

 

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44, NAME OF LENDER 48, LENDER CODE 50, LOAN DISBURSEMENTS
} ay KONA MO DAY YR AMOUNT
| | §
45, ADDRESS (STREET BUILDING, CITY, STATE, ZIP) 47. BRANCH CODE WO” DAY vA AMOUNT
5 AM
I | |
52. IS THIS AN 53. LENDER ACCOUNT NUMBER 54. LENDER USE ONLY 48.
UNSUBSIDIZED LOAN? MO DAY YR AMOUNT
Yes N00 | | | | |
SEGTION D-T0 eR E HEAF + 55a, SIGNATURE OF LENDING OFFICIAL: 49. 57. TOTAL LOAN AMOUNT APPROVED
| xX $ 00
40-60 4-87 OEE 8 1% % 5 USE Ba 57. PROMISSORY NOTE STATUS PRINT NAME AND TITLE 55h, DATE SIGNED way a
GSL-304 i |
v . .

 
Case 5:11-cv-11766-JCO-MKM ECF No. 1, PagelD.10 Filed 04/22/11 Page 10 of 26

 

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GSL PROMISSORY NOTE

' AFFIX TO BACK OF PROMISSORY NOTE

the undersigned hereby expressly:
1. Warrants that: ,

a) no defense of any party is good against the undersigned; and

b) the undersigned is not in default under the terms of that certain Lender Agree-
ment for Guarantee of Student foans with Federal Reinsurance (“Lender
Agreement’’) between it and HEAF, in accordance with which payment of
the indebtedness evidenced by this instrument was guaranteed by HEAF.

2. Disclaims the implied warranty that it has no knowledge of any insolvency pro-
ceeding instituted with respect to the maker of this instrument and instead war-

 
 

3. Acknowledges that:

a) upon payment in full by HEAF of the claim submitted by the undersigned
pursuant to the aforesaid Lender Agreement, HEAF will have discharged all
of its obligations to the undersigned arising out of said Lender Agreement; and

b) notwithstanding payment by HEAF of the undersigned’s claim and accep-
tance by HEAF of transfer of this instrument in consideration thereof, HEAF
has not waived any rights that it may have against the undersigned pursuant

to the terms of the aforesaid Lender Agreement.

G. FORBEARANCE

Pay to the order of Higher Education Assistance Foundation (“HEAF”) without
recourse, provided, however, notwithstanding this indorsement without recourse,

 
 
 

if lam unable fo repay ts loan in accordance with the terms established under Repayment
3 Note, | may request the lender to modify these terms. | understand that such modifi-
# would be at the lender's option and would have to be in compliance with the Act,
‘al regulations adopted under the Act and the Rules and Regulations of HEAR | under-
i that a modification of repayment terms under this Section is different from Deferment
escribed in this Note) and that during this period | will remain responsible for payment
erest, which the lender may (a) collect from me on a periodic basis or (b) add to the
ipa! balance of this loan.

JEFAULT

efinition—! understand thal under the Act, and HEAF Rules and Regulations, any of the
wing events is a default:

tiling to make any installment payment when due, provided that this failure persists for
days for a loan repayable in monthly installments or 240 days for a loan repayable in
frequent installments;

taking any false representation for the purpose of obtaining this loan;

sing the loan proceeds for other than educational purposes;

itling fo enroll in the schoo! that completed the application for the time identified as my

period;

pt notifying the lender immediately if | (a) drop to less than a half-time student, (b) change

graduation date, (c) change my name, or (d) change my permanent address.

ronsequences of default—If | default on this loan: .

‘he lender may declare the entire unpaid amount of the loan, including interest, immedi-

ly due and payable; ‘

‘he lender, holder, or guaranty agency may disclose to schools | have attended (or am

rently attending) information about the default;

‘will be ineligible to receive assistance from any of the following federal programs: Pell

int, Supplemental Educational Opportunity Grant, College Work-Study, State Student

pntive Grant, Perkins Loan (formerly called Nationa! Di Student Loan), Guaranteed
rege =ott Aas renner UY

  
 

  
 

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ans;

will be ineligible for the benefits described under Repayment and Defermentin this Note;
: will also pay all charges and other costs, including attorney's fees, that are permitted by
leral law and regulations for the collection of these amounts. If this loan is referred for
lection fo an agency that is subject to the Fair Debt Collection Practices Act, i will pay
fection costs not to exceed 25 percent of the unpaid principal and accrued interest. De-
ring these amounts immediately due and payable is at the option of the lender, which it
ly do only after complying with applicable notice and other requirements of law. Failure to
proise this option does not constitute a waiver of the lender's right to exercise the option
a later date;

ihe lender may assign this Note to HEAF | will then be required to pay HEAF all amounts
led.

LATE CHARGES

 

 

XK PPA Z 2 WA 7
TITLE 7

DATE
HSCA Claims Supervisor

 

 

Ta SCHOO Watts pon query wi Te we me ees we tee me

1) The Secretary will pay the interest that accrues on this loan prior to the repayment period
and during any deferment period, if it is determined that | qualify to have such payments
made on my behalf under the regulations governing the GSLP In the event the interest on
this loan is payable by the Secretary, the lender may not attempt to collect this interest from
me, | may, however, choose to pay this interest myself. .

2) Once the repayment period begins | will be responsible for payment of all the interest that
accrues on this loan, except that if the interest accruing on this loan prior to the repayment
period was payable by the Secretary, the Secretary will pay the interest that accrues during
any period described under DefermentinthisNote. . ,

3) The lender may add any interest to the unpaid principal balance of this loan that is not
paid when it is due, in accordance with the Rules and Regulations of HEAF governing the

' 4) | will repay this loan over a repayment period that generally lasts at least 5 years but no
more than 10 years. However, the following exceptions to these rules apply:

a. If, during the grace period, | request a shorter repayment period, the lender may grant me
a shorter period. ; an

b. The lender may require a repayment period shorter than 5 years if this is necessary to
ensure that during each year of the repayment period I—or, if both my spouse and | have
GSL, PLUS or SUS program loans outstanding, we—pay toward principal and interest at
least $600 of the unpaid principal of all such loans (plus interest), whichever is less.

c. If | qualify for postponement of my payments during any period described under Defer-
ment in this Note, or if the lender grants “forbearance”, as allowed by the Act, those periods
will not be included in the 5- and 10-year periods mentioned above.

5) If, during the grace period, | request a shorter repayment period, the lender may grant me
a period shorter than 5 years. In that event, | may later choose to have the repayment period
extended to 5 years. . . .

6) | must contact the lender prior to expiration of rriy grace period to negotiate the terms of
repayment. If | neglect to do so, | hereby authorize the lender to establish repayment terms
within the guidelines set forth in Paragraph 4 of this Section, without my further approval;
however, the lender must inform me of these terms in writing at the latest address that | have
provided to the lender. ; |

7) The particular terms and conditions of repayment that apply to this loan will be set forth
in @ separate document that the lender will provide to me before the repayment period begins.
8) My obligation to repay this loan shall be cancelled if | become totally and permanently
disabled or die. .

E. PREPAYMENT

At my option and without penalty, | may prepay at any time all or any part of the unpaid
principal balance of this Note. In the event of prepayment, | will be entitled to a refund of any
uneamed interest that | have paid. The amount of any such rebate will be computed by the
same method by which interest payments were computed.

FE DEFERMENT

| understand that in certain instances authorized by the Act the payments | am required to
make, as described under Repayment in this Note, may be deferred. The instances currently

iermitted by law, the lender may collect from me a late charge if | fail to pay all or part of a

uired installment payment within 10 days after it is due or if | fail to provide written evi-
nce that verifies my eligibility to have the payment deferred as described under Deferment
lhis Note. A late charge may not exceed 6 cents for each dollar of each late installment.

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"| CREDIT BUREAU NOTIFICATION

 

 

lormation concerning the amount of this loan and its repayment will be reported to one or
- pre credit bureau organizations. If! default on this loan, the lender, holder or guaranty
jency will also report the default to credit bureau organizations. This may significantly and
adversely affect my ability to obtain other credit. The lender, holder or guaranty agency
must notify me at least 30 days in advance that information about the default will be dis-
closed to credit bureau organizations unless | enter into repayment on the loan within the 30
days. The lender must provide a timely response to a request from any credit bureau orga-
nization regarding objections | might raise with that organization about the accuracy and
completeness of information reported about me.

BORROWER CERTIFICATION

I declare under penalty of perjury under the laws of the United States of America that the
following is true and correct. |, the borrower, certify that the information contained in my
application for this loan is true, complete and correct to the best of my knowledge and belief
and is made in good faith. At my lender's option, | authorize the lender to make my loan
check(s) jointly payable to me and my school. | hereby authorize the school to pay to the
lender any refund which may be due me up to the arnount of this‘loan. | further authorize
any educational institution that | may attend or HEAF to release to the lending institution,
subsequent holder, or their agents, any requested information pertinent to this loan (e.g.,
employment, enroliment status, prior loan history, current address). | also authorize the lender,
subsequent holder, their agent, the educational institution, or HEAF to make inquiries to or
respond to inquiries from my parents, or prior or subsequent lenders or holders, with respect
to my loan application and related documenis. | also authorize the lender, subsequent holder,
their agent or HEAF to release information and make inquiries to the persons | have listed in
my loan application as references, for the purpose of learning my current address and tele-
phone number. | certify that the proceeds of this loan will be used for educational purposes
for the academic period stated on my loan application at the educational institution named
on the application. | understand | am responsible for repaying any funds J receive that cannot
teasonably be attributed to meeting my educational expenses related to attendance at that
institution for the loan period stated. | certify that | am a borrower eligible for participation in
the GSL program and that | do not owe a refund to any Title iV aid program. | certify that if!
am eligible to apply for a Pell Grant, that ! have done so or that | have requested my institution
to estimate my eligibility for a Pell Grant. | further certify | have read the materials explaining
the federal guaranteed student loan program which have been provided to me and that |
understand my responsibilities and my rights under that program.

SCHOOL CERTIFICATION

| hereby certify that the student named in Section A of this application is accepted for en-
roliment or is enrolled as at least a half-time student, and is making satisfactory progress in
a program determined to be eligible for this loan program. | further certify that the student
has been determined by this institution, under the regulations applicable to this loan pro-
gram, to be eligible for the loan applied for. | further certify that based’upGn records available
at this institution and due inquiry to the student, the student has satisfied the requirements
under the Selective Service Act necessary to receive finaneial aid, is. notin default on any
loan made under any Title IV student assistance prograidentified.in 34 CFR Part 668, and
is not lable for any refund of any grant made under any student assistance program identi-

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U. S. DEPARTMENT OF EDUCATION
SAN FRANCISCO, CALIFORNIA

CERTIFICATE OF INDEBTEDNESS #2 OF 3

Dawn E. Misner

aka: Dawn Misner

161 Holly Hock Lane
Ortonville, MI. 48462-9404
Account No:

I certify that U.S. Department of Education records show that the borrower named above is indebted to
the United States in the amount stated below plus additional interest from 09/21/10.

On or about 09/23/88, the borrower executed promissory note(s) to secure loan(s) of $1,207.04 from
Union Bank Student Loan Center, Lincoln, NE. This loan was disbursed for $604.00'on 11/15/88 at 8.00
percent interest per annum. The loan obligation was guaranteed by Nebraska Student Loan Program, and
then reinsured by the Department of Education under loan guaranty programs authorized under Title IV-B
of the Higher Education Act of 1965, as amended, 20 U.S.C. 1071 et seq. (34 C.F.R. Part 682). The
holder demanded payment according to the terms of the note, and credited $0.00 to the outstanding

principal owed on the loan. The borrower defaulted on the obligation on 03/01/91, and the holder filed a
claim on the loan guarantee.

Due to this default, the guaranty agency paid a claim in the amount of $645.54 to the holder. The
guarantor was then reimbursed for that claim payment by the Department under its reinsurance
agreement. Pursuant to 34 C.F.R. § 682.410(b) (4), once the guarantor pays on a default claim, the entire
amount paid becomes due to the guarantor as principal. The guarantor attempted to collect this debt from

the borrower. The guarantor was unable to collect the full amount due, and on 01/1 1/98, assigned its right
and title to the loan to the Department. .

Since assignment of the loan, the Department has credited a total of $0.00 in payments from all sources,

including Treasury Department offsets, if any, to the balance. After application of these payments, the
borrower now owes the United States the following:

Principal: $ 604.00
Interest: $1,411.23
Total debt as of 09/21/10: $2,015.23

Interest accrues on the principal shown here at the rate of $0.13 per day.

Pursuant to 28 U.S.C. § 1746(2), I certify under penalty of perjury that the foregoing is true and correct.

Executed on: | | Ze / lé PL)

Loan Analyst
Litigation Support

 

Peter La Roche
Loan Analyst
 
 

Case 5:11-cv-11766-JCO-MKM FENG BF poqip i Fi

NSLP Nebraska Student Loan Program Acplication/Promiseory Note

WARNING: ANY PERSON WHO KNOWINGLY MAKES A FALSE STATEMENT OR MISREPRESENTATION ON THIS FORM IS SUBJECT TO PENALTIES WHICH MAY '
INCLUDE FINES OR IMPRISONMENT UNDER THE UNITED STATES CRIMINAL CODE AND 20 U.S.C. 1097.

SECTION |~TO BE COMPLETED BY STUDENT BORROWER Type or print clearly with a ballpoint pen. Read the instructions carefully.

So
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1, Social Security Number 2. Last Name First MA. 3. Birth Date (Mo./Day/Yr.) *
. c . 4
MISNER DAWN e.
” 4. Home Area Rie chDRE Number 5. Permanent Hor..é Address Street City State ZIP Code + 4
Ne pne aq\ 1 ic WA T
(32/3) ™°P 1Haqg| HENDRICKS ARRENM VIL. 48089 |
6. U.S, Citizenship Status 7. Driver's License Number *Y7 folate | 8, State of Legal Residence 9. Have you ever defauiled on eatons
Sh loan? (See instructions) “ee
Xe) U.S. Citizen, National or related status st mz 8 } F SF If yes, give detail age S
ii ici ale ince ; give details on a“sepy
OD (b) Permanent Resident or Eligible fie perp : - —— aper including what arrangements hav
Noneitizen (See instructions) 11. Intended Enrollment: (Béehabtiuelicns,)? 24.12. Prior to the school year for which this foan pape made, if any, to repay this debt.
i i a ji - nw fd is Intended, have you ever been enrolled ‘ ‘ .
D (c) Neither a nor b (See instructions) Fulltime na, > te, jj * 2
‘ : i ot in any schoo! beyond the high school level? [73 -Wwrat period do you want this loan to cover?
Alien Registration #. At least half-time. . y
a: | 7 DYes fANo From: (Mo./Yr.) To: (Mo./¥r,}
ce 4 .
a > at : y a 8g
EOE? t tes Seite ML / oO - Y¢ 3
School, You Intend To Liye ("X" One). With Parents 0 On Campus ““TYOff Campus . 15. Major
Address 14 04 / HENOof) CES pye phone U na
se le on page
tM RREN } mi - +f 2 dD oF Phone (. ) 4of instructions.” :
16. Do you have any outstanding GSL, FISL, PLUS, SLS, ALAS debts? Res f Pp Hf yes, list below. (See instructions) if no, write none and go to 17, Attach a separate sheet if more space is needed. :
- . : Unpaid Balance Loan Period Loan Type Student :
Name of Lender City & State of Lender . & interest Rate fe d GSL, FISL, PLUS etc, Grade Level i
JCF Mite npois, MA 5 _ 2500 Zon mm HSI SIS Gs |
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“ SECTION Il-TO BE CO CHOOL wo : ” .
19. Name of Stk tienal Education Center : 20. ey 21. School Code Branch LD.
i itute of Technology Campus ORf3l0 2
22. Address Street . City State ZIP Code + 4 23, Area Code/Telephone Number
East Datroit, MI 48021 Ol3 SSTO
24A. Loan Period (MO./Day/¥r) 248, Loan Pefiod Covers: 25. Borrower Grade Level 26. Dependency Status | 27. Articipated Graduation Date
f y /Yr.
From: To: Quarers Correspondence o f Dependent (Mo./Day/Vr.)
. yee. -: ; Gye | semesters Undergraduate = 1 4050 Cih- _ -
DAPES: BB SQ : 7-7
setae Clock Hours Graduate/Professional BO 708090)
28. Estimated Cost of Education for —_| 29. Estimated Financial Aid for 30. Expected Family Contribution for | 31. Difference (Item 28 minus Hems 29 and 30) 32. Ariount School Appi
Loan Period . Loan Period Loan Period ‘

 

 

 

 

 

s (o}%O s jHlolo sO s 48945 _ —sldOT
ave read,and agreed to the School Certification on the reverse side. : : 34, Suggested Disbursement Dates
Date | [- 2 - K ¥X ee ; 4
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J, pole, MicHELLE « locas, EA. Assist. of 5 E-

33,

. My sigiature certifies that | h
Waele bh

Signature of School Official

SECTION Ii—TO BE COMPLETED BY LENDER

 

 

. hE,

Print Name & Title 3.

 

 

 

 

 

 

 

 

 

 

 

 

 

35. Name of Lender 36. For Lender Use 37. snd Dales Oe pement Amounts
and Dates ./Day/¥r.) ,
Union Bank Student Loan Center 0426 13,404 // [¥ 5 3B
y “
38. Address Cty State ZIP Code + 4 39. Area Code/Telephone Number 2.8 CHF f— LG EF.
1944 O Street Lincoin’ NE 68510 (402)) 488-0941 #278 3.5 —
40. Signature of Authorized Lending OFT No nay Q \ a) 41, Lender Code Total sfAOT
we : 808543 45, List current borrower indebtedness
. w at your institution (see instructions)
42. Print or T N cd Tith 43, Date (Mo./Day/Yr. 44. NSLP USE
rint or Type Name and Tile Cheryl Reynolds ate (Mo./Day/Yr.) GSL/FISL PLUS/SLS/ALAS
o & .
Loan Processor NOV 1 0 1988 $ OQ $
BORROWER: TERMS OF PROMISSORY NOTE CONTINUE BORROWER: UPON COMPLETION SUBMIT LENDER,
’ ON REVERSE SIDE, NSLP AND SCHOOL COPIES (AS A SET) TO THE SCHOOL.

KEEP THE BOOKLET AND BORROWER COPY FOR YOUR RECORDS. LENDER Page 5
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+ Case Oo BERL ORE NAM EEF NG: ay Pagal. 16 Filed 04/22/11 Page 16 of 26
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will beg ‘Bethan thé day after the last day of my grace petiod. My grace period is

“4 School-ihat participates in the Guarinteed Student Loan Program. During my grace period,

that period of time which begins when | cease t6 be ef Hed'as ativast-271 e stlident
“however, | may request that my repayin{git period bégin on-anearlieg date... aes
€, Inferest: | agree to pay an amount equivalent to ‘simple interest on-the-unpaid balance of my'loan from the date'it is ‘advariceifto me until it is paid in full. The Séeretary of Education
(Secretary) will pay the interest that accries on this Jpan prior to the repayment period and during any deferment period, if it is determined that | qualify to have such payments made on my
behalf under the regulations governing the GSL Program. In the event the interest on-thig loan. is payable by the Secretary, the lender,may not attempt to collect this interest from me. | may,
- however, choose to pay this interest-myself. Once the repayment period begins + will be responsible-for payment of alt » interest that accrues on this loan, except that if the interest accruing
on this loan prior ta the repayment period was payable by the Secretary, the Secretary will pay the interest that accrues auring any period of deferment described under DEFERMENT in the
Borrower's Rights. and Responsibilities. The lender may’add any interest to (the unpaid-ptincipal balance of this loan that is-niot paid when itis due, in accordance with regulations of the
. guarantor governing the GSL Program. All payments. willbe made to your address as, set forth in Raragraph A, be
D.. The Guarantee Fee: if required to do so by the lender, | will pay to the lender an amount e pal to ihe'pramiim that the lender is required to pay to the guarantee agency to obtain insurance
coverage on this Joan. The lender wil) deduct this premium proportionately from each,disburgeinent ofsprincipal on this loan’ y: ~ , . - f
The Origination Fee: If required to di
may deduct this fee frorn the procee

 
     
  

 

 

f the loan. & the

E,” Default and Acceleration: Default meéjs the failure of a botfowér tb miake an installment payment when dug; or to mest otherterms.of the Promissory Note under circumstances whers the

Secretary or the NSLP finds it reasonable to conclude that the borrower no longer intends td.honor the’ obTigatioh to +epay, provided that this failure persists for (1) 180 days for a ioan
repayable in monthly installments: or (2) 240 days for a loan repayable in less frequent installments, 1&4 defadif, on.this loan (1) the lender may declare ¢ e-entire unpaid amiount of the loan,
including interest, immediately due and payable; (2) the lender, holder or NSLP may disclose-to stfiools | have attended (or am currently attending) information about the default; (3) | will be
- ineligible to receive assistance from any: of the following-Federal-programs: Pell Grant, Supplemental: Educational Opporiunity:Grant, College Work-Study, State Student Incentive Grant,

Perkins Loan (formerly called National Direct Student Loan), Guaranteed Student Loans, Supplemental Student Loans, PLUS Loags or Consolidation Loans: and (4) | will be ineligible for the

benefits described under Deferment and Interest in,this Promissory Note.

F Collection Cosis-Late Charges: If | failto pay any of these amounts when they are due, | willalso pay all charges and othercdsts - Including attorney's fees ‘ that are permitted by Federal law
and regulations for the collection of these amounts, If this loan is referred for-cellection to-an-agency that is subject-4o-the Fatr Beb Collection Practices Act, | will pay those collection costs
which do not exceed 25 percent of fe unpaid. principal afid‘accrited interest’ Tf permitted by State fiw, thelender may cbllect § ie 4 late charge if | fail to pay all or part of a required

installment payment within 10 days &fter it is\due or if-t.fail to provide written.evidencé that verifies my eligibility, de shave: ment deferred as described under Deferment in this

     

 

 
 
   
  
  
  
   

 

Promissory Noie. A laie charge may not exceed 6 cents for each dollar ofeach late installment. ” or ee ay i .
G. Prepayment: | may, at my option and without nannte. ~-2e Fo! ~~ ie patited fo 4 rebate of any unearned interest that | have
paid. : ine ‘
H. Additional Soreements: (1) The pi OMISSORY NOTE miseory Note. (2) Any notice required to be given
” tome, Including my Disclosure St ASSIGNMENT OF PR - ee cane ore (ay Your iar rk bal
insist that |.comply with any terms ORY NO ritinoy{4) Jf NSLP is required under its guarantee
. tarepay my loan(s) because | have AFFIX TO BACK OF PROMISS

yt ne Jo enforce this Note against me. (5) My

td ylothiér Holder of this Note. (7) The endorser, if

SfaWes deriand, presentment for payment, notice of

Ser ‘fotwithstanding any deferment in accordance
, Cg: Boa tee

*‘lodi will Be cancelled if | die or bac . .
any, Signs the Promissory Note in! Bay tp the order of NSLP, Nebraska Student Loan Program, Inc without
lonpayment, protest, and notice of ay rovided, however, notwithstanding this endorsement
whh.Section | of this Promissory } eCourse, P ressly:
singe . : 4. courses, the undersigned hereby exp!
|. Deferment: You will let me pay inte. 1.W, , that:
in default, and | can provide you wi 1. arrants . igned; and
»condition entitling me to the defern a) no defense of any party against the unoeone of that certain Lender i
d- Repayment in Installments: | wil;  b) the undersigned ie m oe Stud ent loans with Federal Reinsurance .

outstanding principal balance pliis : Agreement fo with
Disclosure which shows the repayn (‘Lender Agreemant’) between i#t and NSLP, in accordance wate

inclyde’all loans | have received fror payment of the indebtedness evidenced by this instrument was Beet

More than 10 years after this Note bi LP,
Shorter than 5 years, However, | ma Baa that t fo the extent it has knowledge of any insolvency pro-
repayment period for all my GSL,F  ¢) ceeding It has disclosed the same to NSLP. . y
balance of all such loans plus aceru i ’ kyears,
<. Credit Bureau Notification: if | def: 2. Acknowledges that: . * . under- iilfons. This may significantly and adversely affect m
~ ability to obtain other credit. If!c: a) upon payment in full by NSLP of the claim submitted by tne have Pons. This about the default wil be disclosed to credit
bureau organizations unless | enter - signed pursuant to the aforesaid Lender Agreement, arising out of sald pation on the repayment status of this loan to any credit
” buréau organization and must make discharged ail of its obligations fo the undersigned arising the fochtasyiand edeipletsaess of information reported
about me. If not otherwise prohibite Lender Agreement; and

~ Barrower Righis and Responsibilitd notwithstandi ent by NSLP of the undersigned’s claim ar Bities' finden glaye'13 of this booklet.
Vi. Transfer of Note: This Note may be ti b) acceptance by NSLP of transfer of this instrument in consideration bilities of the paftiés-ag set forth herein. | will be notified
of any such transfer in writing. reof, NSLP has not waived any rights that It may have against ISOS IM cy
. the! e of the aforesaid Lender Agreement. - = 3 EMD REED ¢
Jorrower Certification

 

e’Notedf‘my-repayment period has begun if| am hot
ahd'Responsibilities. | must notify my lender whehi the
leferment options. .
‘described in Paragraph E, in which case the entire
rth in Paragraph B, you will send mea Repayment
0, repay this Note. The Repayment Disclosure may
; onthly payments for a period of not Jess than 5 nor
Ey At My option, | may agree to a repayment period that is
less than 5 years, My total payments for any year of the
} by my spouse on any GSL, PLUS or SLS Loan (or the

  
   
   

 

   

  
  

    

 

 

declare under penalty of perjury under } QO lO Oo { ertify that the information contained in Section | of this
(pplication is true, complete and correct Ti eee «(0 pay to the fender ary refund which may be due to me
ip to the amount of this loan. | further ai " DATE _ 3), U.S. Department of Education, NSLP or their agents,
ind to redisclose to other educational ins SIGNATURE [ to this loan (e.9., employment, enrollment status, and
ither aspects of my student loan borrow . / 2d for educational expenses for the loan period covered
y this application at the school named otfreasonably be attributed to méating my educational
xpenses related to attendance in that scl cmmemeee ‘the Gharanteed Student Loan Program, Title 1V, Part B
PL.-89-329) as amended, will not exceet ——— THLE Grant, Supplemental Educational Opportunity Grant, or
itate Student incentive Grant that | recel NAME : Or Defense Student Loan}, Guaranteed Student Loan,
ederally Insured Student Loan, PLUS Le stitution to issue a check covering the proceeds of my
an, in full, or in part, made payable to mr: BSOSAPNO1 1 Section UW. | have read and understand the "Statement

{ Borrower's Rights and Responsibilities we eet ays . .

understand that | will receive a Disclosuré-oraug ney nat loentities my Joan amount (as.determined.by the Jendet), the jee amounts,.due dates, grace period, late charges, and other information
ertinent to my loan(s). | understand and agree that if the information on the Disclosure Statement conflicts with the information’on the Application/Promissory Note, the information of the
‘issiosure Statement applies. on soe wee terme reg 9 eaten ime anes nat

   

chool Certification cy ae : ‘ wes "

hereby certify that the student named.in Section | is accepted for-encollment; or iS-enrolled as at ldast a half-timie-student, isingood standing and is making satisfactory progress in a program
etermined to be eligible for the Gudrariteéd Student Loan Program.,| Jurther certify {for periods of enrollment beninning.on,or after July 1, 1987) that this student is enrolled or accepted for
arollment in a degree or certificate programs:Based on records available-thr mertfurtherogstify that this studentis'feither in default hor-pwes a refund with respect to financial assistance under
itle IV of the Higher Education Act of 1965, as hinended, for attéridanée'at this of.dny. School Fang that the infomation provided'it Section {1 is true; complete, and corréct to the best of my
rowledge and belief. | certify that based dpon-récords available at this institution this student has satisfied the réquirements «under the Sélective Service Act necessary to receive financial aid. |
irther certify that | have determined the eligibility or ineligibility for a Pell Gratits ‘ : :

“
sarraamaseveniis

  
 
 

  

     
 

       
 
     

‘age 6

G's6 by thé.lendéi; | will pay to.thé lander an origination fee-notto exceed fhe percentagecaf thé-ioan amount that is authorized by Federal law. Thelender
fee tyes Voy tro . soothe Ft .

tee ee tee
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FLV

 

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U.S. DEPARTMENT OF EDUCATION
SAN FRANCISCO, CALIFORNIA

CERTIFICATE OF INDEBTEDNESS #3 OF 3

Dawn E. Misner

aka: Dawn Misner

1621 Holly Hock Lane
Ortonville, MI. 48462-9404
Account No:

I certify that U.S. Department of Education records show that the borrower named above is
indebted to the United States in the amount stated below plus additional interest from 09/21/10.

On or about 12/22/89 and 01/29/90, the borrower executed promissory note(s) to secure loan(s)
of $196.00 and $196.00 from National Education Center at 5.00 percent interest per annum. The
institution made the loan under the Federally-funded National Defense/Direct Student Loan, now
Perkins Student Loan, programs authorized under Title IV-E of the Higher Education Act of
1965, as amended, 20 U.S.C. 1087aa et seq. (34 C.F.R Part 674). The institution demanded
payment according to the terms of the note, and the borrower defaulted on the obligation on

03/01/91. Due to this default, the institution assigned all rights and title to the loan to the
Department of Education.

After the institution credited all cancellations due and payments received, the borrower owed the
school $392.00 principal and $24.45 interest. This principal and interest, together with any
unpaid charges, totaled $428.45. The loan was assigned to the Department on 05/28/92.

Since assignment of the loan, the Department has credited a total of $0.00 in payments from all
sources, including Treasury Department offsets, if any, to the balance. After application of these
_ payments, the borrower now owes the United States the following:

Principal: $392.00
Interest: $382.92
Total debt as of 09/21/10: $774.92

Interest accrues on the principal shown here at the rate of $0.05 per day.

Pursuant to 28 U.S.C. § 1746(2), I certify under penalty of perjury that the foregoing is true and
correct. .

Executed on: | | ue ib |
f Loan Analyst

Litigation Support

Peter La Roache
Loan Analyst
.

 

PERKINS LOAN PROGRAM: PERKINS LOAN

 

 

 

     

 

 

 

 

 

 

 

 

 

PROMISSORY NOTE = wale, Hoooouy 222
"BORROWER: HISNES Daun Eg - ot “ SO, SEC. NO
LENDING INSTITUTION: , ‘ j a Ee J LTE leoe, - 9228
ADDRESS; =: 258 as DEERFIELD RD. cry: FASE. DETROLT swe: # Zp CODE: £8022 _
AMOUNT OF LOAN: = | ANNUAL PERCENTAGERATE: ~~ >| (A) PRIOR TO BEGINNING REPAYMENT PERIDD . 7") (8) DURING REPAYMENT PERIOD
s 195, 00 ———— > ~ ates ai, Ob * 5.00”

£96, 00 , . / * : 7 .
| promise to pay to you or your order $ ° in United States Currency. | promise to pay‘all attorney's fees and other reasonable.collection costs and
charges necessary for the collection df any amount not paid when due. | further understand and agree that .T2 Lat ot

GENERAL SR Dog DT, n ae ;

(1) Applicable Law: All sums advanced under this note are drawn from a fund created under Part E of, Tile of the Higher Education Act of 1965, as amended,
hereinafter called the Act, and are subject to the Act and the Federal Raguiations issued under the Act. The; terms of thig note shall be interpreted in accordance
with the Act and Federal Regulations, copies of which are to be kept by the Lending Institution. . : *- .

{2) Procedures for Receiving Deferment or Cancellation: | understand that in order to receive a deferment or, caricellatidn, | must request the defermen} or cancallation
in writing from the Lending Institution, and must submit to the Lendin: Instifud6riany “documentation fequired by the Lending Institution to prove that | qualify for
the deferment or Gancellation. | further understand that if | am eligible for deferment or cancellation under Articles Vil through XIl, | am responsible for submitting _
the appropriate requests on time. | further understand that | may lose my deferment and cancellation benefits if fail to file my request on time.

a

 

ii, REPAYMENT ~ , : - : :

I. INTEREST . . an - - . - . eg ee
Interest shall aren from the baginiing’of the repayment period on the unpaid balance except that no interest shall accrue during any deferment period described
in paragraphs 5 .. .

(1) | promise to repay the principal and the interest which accrues on it to the Lending Institution ‘over"a perlod beginning 9 months. after the date | cease to be at _
least a half-time student at an institution of higher education, or at a comparable institutién outside the United States ‘approved for this purpose by the United States
Secretary of Education (hereinafter called the Secretary), and ending 10 years later, unless that period is shortened under paragraph IlI(5), or extended under paragraphs
(4), IK’7) (extensions) or VII(1) (deferment). . = uote . ;

(2) Upon my written request, the repayment period may start on a date earlier than the. one indicated in paragraph lil(1). ee .
{3) | promise to repay the principal and interest over the’course of the repayment period in equal monthly installments. However, if f request, and the institition approves,
repayments may ba made in graduated installments determined in accordance with schedules approved by the Lending Institution and the Secretary. .
(4) Notwithstanding paragraph HK1), if J qualify as a low-income individual during the repayment period, the.Lending Institution may, at its option;"upon my request,
extend the repayment period for'up to an additional 10 years or‘adjust any payment schedule to reflect my income, .or both, . : ot
(5) (A) If the monthly rate that would be established under paragraph Hil( 1), or the total monthly repayment rate of principle and interest
this loan, is less than $30 per month, | shall repay the principal and interest on this loan at the,
(8) IFT have received Perkins Loans fraro other institutions ard the total monthly repayment rate o he $30 b
under paragraph HI(5)(A) includes the amounts Lowa on all my outstanding Perkins Loans including those received from other institutions. The. amount of this $30
fronthly payment that will be applied to this loan will be the différence between $30 and the total of. the amounts, awed at,a-monthly fate on’my other Perkins ~
oans, - * 7 + - - 7 we + . ” - we MT " we 7 eee .

(6) The Lending Institution May permit ie io Pay less than the rate’ pf $30 per‘month for a period of not more ‘than one year where necessary to avoid hardship

to me unless that action would extend the repayment period in paragraph Illt 1). . \ ae oo
(7) Tha Lending institution may, Upon my written request, reduce any scheduled repayments or extend the repayment pefidd indicated in paragraph Ni{ 1), if, in its opinion,
extraordinary circumstances such as prolonged iliness or unemployment, prevent me from making the scl

s ‘orvall my Perkins Loans including
rate of, $30 per month (which includes both principal and interest).
n those loans is less than $30, the $30 monthly payment established

 

 

 

 

 

 

 

 

 

eduled rapayments. However, Interest shall confirlue to
accrue. . . os na. oon Bo epee
IV. PRIOR LOANS ~ . . . . co renee wr _ . . tee
Thereby certify that | have listed below all of the Perkins Loans | have obtained at other institutions: {If no prior loans have been received, state “None”.)
AMOUNT Sa DATE © _INSTHUTION ze A
| Ape
24s
V. PREPAYIVIENT ; . Fe .
{3} I may, at my option and without penalty, prepay all or any part of the principal, plus any accrued interest thereon, at any time. ~~ To mol,
2} Amounts | repay in the academic year it which the loan was made will be used to reduce the amount of tha loan and will not be considered a prepayment unless .
that year is also the year in which | am required to begin repayment on'this loan. 2°, L re eget ete - aoe
{3) IF} repay more than the amount‘due for any fistallment, the excess will be used to prepay principal unless | designate it as an advance payment of the next regular
installment. rn tek a Sil tee .
VI DEFAULT Co : . tee : - oe
(1) The Lending Institution may, at its Option, declare my loan to be in default and may demand immedidte paymeht of the entire unpaid balance of the loan, including
principal, interest, late charges and collaction costs if - , . : = . .

c date on which payment is due, documéntation that | qualify for a deferment or cancallation described
in Articles Vil, VIIL, IX, X, XJ, or Xl of this agreement... _ : - 7° - hme we Le 7 ae
Lunderstand that if | default on my loan, the Lending Institution may disclose that | have defaulted, along with other relevant information, to credit bureau organizations, .
Further, | understand that if } default on my loan, and the loan is transferred to the. Secretary for collection, the Secretary may disclose that Lhave defaulted, along
with other rplevant information, 10 credit bureau organizations, ~~ 0 eee . u . .

l understand that if ! default on roy lean, | will then lose my right to defer repayments. . . .
(5) L understand that after the Lending institution accelerates the loan under paragraph Vi(1), E will then lose my right to receive a cancellation of a portion oF my loan
for any teaching, volunteer ‘or military service described in Articles VI, IX, X and XI, performed after the date the Lending Institufioh accelerated the loan,
(8) | understand that failure to pay this obligation under the terms agreed upon will prevent my obtaining additional student financial aid authorized under Title IV of
the Higher Education Act of 1965, as amended, until | have made arrangements which are satisfactory to the Lending Institution of the Secretary regarding the
repayment of the loan. a ees eee at > . . .

NOTICE TO BORROWER: DO NOT SIGN THIS NOTE BEFORE YOU READ IT, INCLUDING THE WRITING ON THE REVERSE SIDE. THE LENDING INSTITUTION MUST
SUPPLY A COPY OF THIS NOTE TO YOU AND ANY COSIGNER.

Signature of Borrower “Ta TY * 4 - _ : _ Data _ ve 2 f* go
Permanent Address Wet J end fia | (Qo aM &. H KROL%

(Street) “~ “ " City) “(State)” * "(Zip Code)

The borrower and Lending Institution shall Sxecute this note without security and without endorsement unless the borrower is a minof and this note would not, under the
w of the State in which the Lending Institution i located, create a binding obligation. If the borrower is a minor and this note would not, therefore, be legally binding,
the Lending Institution shall require a cosigner 16 this note: wr PUR ee ee ene nie BO ge rn a

| AGREE TO REPAY ALL AIMOUNTS DUE ON THIS LOAN IF THE BORROWER FAILS ‘T6 DO SO IN ACCORDANEE WITH THE TERIIS OF THE NOTE.

3} 1 do not make a scheduled payment when due under the repayment schedule established by the Lending Institution, and
* (B) Ido not submit to the Lending Institition on or before the
2
i
(4, :

wee ae . . . ~

cet gs wes Dae ats x A
t

Signature of Cosigner 202 ese 2

Permanent Address : : : : : Social Security Number SNES eraEeE a
(Street) (City) © oo (State) (Zip Code) : we

. - “HEADQUARTERS
Rev, 6/88 . ” ic' “NOTICE: SEE OTHER SIDE FOR ADDITIONAL CONDITIONS

 

 

     

 
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Vib.

a afafes approved for this purposa by tha Secretary.
toug TER ti

GO. & (v) Temporarily totally disabled,a

Vill.

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XiIL.

XW.

XV,

 

Gi) include.it with the next scheduled repayment after | have received notice of the late charg. oe = _ . “ an
(B) if the Lending Institution elects-to add the assessed charge to the outstanding principal of ‘the loan, it must so inform me before the due date of the next
installment. . : 7
_ ASSIGNMENT - . a oe
(1) This note may be assigned by the Lending institution only to - : os -

 

DEFERMENT

(1) ! understand that upon making a properly documented written rane to the Lending Institution, [ may defer making scheduled instullment payments! and will
noEbé laule for-dbyésterest that might otherwise acctue, during the following periods: * oo. oo. a ke
(A) While | am enrolled and in attendance as at least a half-time student at an insiftutlot of higher education or at a cormparable institution outside the United
! “3 " Teh OLB bia!
eriod Hofto exceed three (3) years during which | am « a Fie. oe a Te “
u a on full-time active duty as a member of the Armed Forces of the United States (Army, Navy, Air Force, Marine Corps, or Coast Guard) or the National
cean

ic and Atmospheric Administration Corps, or as an officer on filtirie active date ik bd .Chnarbissioned aris of fihe. United States Public Health
Service, : _ - . . . - - : o : *
On ice 4s a volunieer under the Pea ri ' he : <a ISLALTE OC EER
i hegre undethe Domestic Voltas Soa ot bt 674 (ACTION programs), aC . c 4 st . OG AS . ;
(v) A full-tihie volunteer in a tax-exempt, organization performing service comparable to the service perlormed in the Peace Corps or under the Domestic
Volunteer Services ‘Act of 1973; or? : . 3

éstablished by an affidavit of a qualified physician, ‘oF unable to securts émployment because lain greviditg care required"
by a dependent who is so distbled: CC gals .

(C) For a period not in excess of two (2) years- _ .. . we ee eae . ;
(i) After | receive a baccalaureate or professional dagree during which time | am serving in an internship whith is ‘required in order that | may receive
professional recognition required to begin my professional practize or servite, or

(ii) serving in an internship or residency program leading to a degree or certificate awarded by an institution of higher education, a hospital or a health care.
facility that offers posigraduate.training: °° ° ~ . :

(D) For a period not in axeéég of one 1} year during which, if !am a mother of preschool age children, | hava entered or reentered the work force, and am being
paid at a rate which does not me $1.00 above the minimum hoirrly wage established by section G of the Fair Labor Standards Act of 1938;
{E) For a period not in excass.of sixmonths - - . wt te
(i) That follows by six manths or less of a period during which | was énrolied as at least a half-time, student at an eligible institution; and (if) During which
! am pregnant, caring for my newhorn baby, or caring for a child immediately after he or she was placed with me through adoption and | am neither
attending an eligible institution of higher education nor gainfully employed: and". . Ses
(F) During a six (6) month period immediately following the expiration of a

ny dafefment provided in paragraphs ViI(I\A) through VII(E). ce ts
(2) The Lending Institution may, upon my written request, defer my scheduled repayments if it determines that the deferment is necessary to avoid a financial hardship
for me. Interest, however, will continue to accrue. : . . - , ™
CANCELLATION FOR TEACHING

(1) | ubderstand that upon making a properly documented written request to the Lending institiition,

joan plus the interest thereon canceled if} perférm service woe a Eg ~ fete a ee ge

(A) As a full-time teacher in a public or other nonprofit elementary or secondary school which js in the school district of a local
eligible in such year of service for funds under Chapter | of the Education Consolidation and Improvement Act of 1981, asa f
designated by the Secretary (after consultation with sach State Department af Education) in accordance with the provisions of section 465(a)(2) of the Act .
as @ school with a high concentration of Students frorn low-income families, An official Directory of designated low-income schools is published annually by
the Secretary, cree, . yo mo - ”

(B) As a full-time teacher of handicapped children {including those who dre méhtally retarded, hard of hearing,
handicapped, seriously emotionally disturbed, orthopedically impaired, having specific learning disabilities, or a
teason thereof requiré spéclal educatich’and related, services) in a public or other non-profit elementary or secondary school! system, roe

(2) A portion of this loan will be cancelled for wach completed year of teaching service’At the fcllowing ritas: . : oe . a _

(A) 15 percent of the. total principal amount of the loan plus interest on. the unpaid balance accruing during that year_will be canceled for each of the first and
second complete academic years of that teaching service, "TT te . _ a cae et

(B) 20. pércent of the total principal amount plus interast on the unpaid balance accruing during that year for each of the third and.fourth complete academic
years of that teaching service, and oe . atte. : ve ve . .

(C) 30 percent of the total princigal amount plus interest on the unpaid balance, accruing

I'am entitled to have up to_100 pereéht of ‘the amount of this
ner aducational agency which is
mended, and which has beert

deaf, speech and language impalred, visually
ve otherwise health-impaired children, who by

service, 2.
HEAD START CANCELLATION

(1) | undesstand that upon making a properly documented written reguest to the Lending Institution, | am entitled to have.up to 100 percent of the amount pf this 7
Joan plus the interest therson canceled if | parform seivice as a full-tifne staff member in a Head Start prograrn if - ne . ot
(A) That Head Start program is operated for a period which is comparable to a ful schoo! year in the locality, and
(B) My safary is not more than the salary of a farpparable employee of the local educational agency. ee wee

(2) This Ioan will be canceled at the rate of 15°percent of the total principal amount plus interest on the unpaid balance aetruing during that year for each complete
school year ar equivalent period of service in a Head Start program. : . .

(3) Head Start is a preschool program carried out under the Haad Start Act.

MILITARY CANCELLATION .

(1) | understand that upon making a properly documented written request to the Lending Instivution, ! am.entitied to have up to 50 percent of the principal amount
of this loan plus the interest thereon canceled if | serve as a member of the Armed Forces of the Dnited States in an area of hostilities that qualifies for special
pay urider section’310 of Title 37 of the United States Code, le . .

(2) This loan will be canceled at the rate of 12¥a percent of the total principal amount plus interast on the unpaid balance accrui
year of such service, * . . : mes Tere notte
VOLUNTEER SERVICE CANCELLATION . : . - .
(1) l understand that upon making a properly documentad written request to the Lendirig Institution, | am entitled to have up to 70 percent of the amount of this.
loan plus the interest therenn canceled if | perform service.-- so Pf oR Lon og ms : . hot :
(A} As a volunteer under the Peace Corps Act; or . . Lo : : a - “
(B) As a volunteer under,the Domestic Volunteer Service Act of 1973. on : . "8
(2) This foan willbe canceled at the following rates: et sae -- wre : “ 6 an Doe ee ee
) 45 percent of the total principal amount of the Joan plus interest on the unpaid balance will be fanceled for the first and second twelve-month period of* ~,
volunteer service completed: “*- * -- ee Tt weston . nr oo oe Soto
(B) 20 percent Gf the total principal amount of the loan plus Interést on the unpaid balance will be canceled for the third and fourth twelve-month period of
volunteer service completed. . . . : . : .

DEATH AND DISABILITY CANCELLATION

(1), in the event of iny death, the total amaqunt owed on this loan will ba ‘canceled. ° a ne we en et
(2) lf i become totally and permanently disabled after | receive this loan. the Lending Institution Will cancel the total amount of, this loan.

CHANGE IN NAME, ADDRESS, TELEPHONE NUMBER AND SOCIAL SECURITY NUMBER

during that year for ‘the fitth complete academic year of that teaching

‘re wT FTE ait
ing during that year for each complete .

lam fesponsible, and any endorser §§ responsible, for informing the Lending Institution of ainy Changer changés in name; address; telephone number or saci! security
number. . : . . _ . .
LATE CHARGE oo, oe. ae, aes
(1) The Léndifig listitaiion wil impose dTate charge if - , core

(A) Ido not make a scheduled payment when it is due, and . oe ak a . we Cooma fe
(B) Ido not submit to the Lending Instiftition on or béfore the date on which payment is due, documentation that | qualify for a defarment or cancellation’described
in Articles Vil, Vi IX, X, XI, and XI of this agreement. nn so Lone .
{3 No charge may exceed twenty (20) percent of my monthly payment.
3) (A) The Lending Institution may -* : .

{i) Add the late charge to the principal the day after the scheduled repayment was due; or se oo

. =~ Pao elm ni oe
(A) The United States; ~ 9 ~-~ *- - Lo. OT, . eT - o .

{B) Another institution upon my transfer to that institution #f tha

(C) Another institution approved by the Secretary.
(2) The provisions of this note that relate 1

t institution is participating in this program: or

‘0 the Lending Institution shall, where appropriate, relate to anrassignpe.

 

 
 

 
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Case SIT-CV-1IT6C-ICO-MRIM ECF No: t, PagetB-23-—-Fiees

 

 

 

 

 

 

 

 

 

 

 

 

 

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- _ PERKINS LOAN PROGRAM: PERKINS LOAN pe

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pomowen MEISNER | | | BAHN En “it” | soc.see’no:

LNDNGINSTTUTON: NATIONAL EDUCATION CENTER oo cop: 0220

ADDRESS: iS1i5 DEERFIELO RD, omy: EAST DEFROET cur HE ap cope $8025 _

AMOUNT OF LOAN: ANNUAL PERCENTAGE RATE: - ~ | (A) PRIOR TO BEGINNING REPAYMENT PERIOD (8) DURING REPAYMENT PERIOD

S 296,00 te Ge OO % SoG %
496506 _ foot eee te RU _. ee te

' promise to pay to you or yout érder$ ” : In United States“Currency. | promise to ‘pay all attorney's fees and other reasonable collection’ tosis and
charges necessary for the collection of any amount not paid when due. | further understand and agree that ---- - we vious neds 7
GENERAL " St cio

(1) Applicable Law: All sums advanced under this note are drawn from a fufid Created under Part E of Title IV of the Higher Education Act of 1965, as amended,
hereinafter called the Act, and are subject to the Act and the Federal Regulations issued under the Act. The terms of this note Shall be interpretéd in accordance
with the Act and Federal Regulations, copies of which are to be kept by the Lending Institution. = : :

{2) Procedures for Receiving Deferment or Cancellation: | understand that in order to receive a deferment or canéellation, | must request the defermentor cancellation
in writing from the Lending Institution, and must submit.to the Lending Institution any documentation’ required By the Lending Institution to prove that | qualify for
the deferment or cancellation, | further understand that if} am eligible for deferiient or tanéellation under Artibles Vi through XII, | am responsible for submitting
the appropriate requests on time. | further understand that | may lose my deferment and cancellation benefits if [ fail to file my request on tine,

il. INTEREST Tomes . Comes ee we cee tk cee ka.
Interest shall accriia from the beginning of the repayment period on the unpaid balance except that no interest shall accrae during any deferment period described
in. paragraphs VII(1). . oe : RI Me Dee LE le
I. REPAYMENT °

tame oo wae

(1) | promise to repay the principal ahd the interest which accrues on it to the Lending Institution over ‘period

al and 1 rest, 2 it ue Lending In n é beginning 9 months after.the date } Gease to be at
least a half-time student at an institution of higher education, or ‘at a comparable institution outside the United States approved for this purpose by tha United States
Secretary of Education (hereinafter callad the Secretary), and ending 10 years later, unless that Period is shortened under Paragraph II(5), or extended under paragraphs
H(4), m7) (extensions) or Vii(1) {deferments), ae “os seh font tre "tye se “
Upon my written request, the repayment period may start on a’ date earlier than the one indicated in Paragraph Hli(1), .
(8) | promise fo repay the principal ani interest over the course of the repayment Penod in equa! monthly installments, However, if lrequest, and the institution approves,
repayments may be made in graduated installments determined in accordance With schedules approved by the Lending Institution and the Secretary. . -
(4) Notwithstanding paragraph HI(1), if } qualify asa low-income individual during the repayment period, the Lending Institution may, at its option, upon my request,
extend the repayment period for up to an additional 10 years Or adiust any payment schedule to reflect my income, ér both. | . ove
{5} ) If the monthly rate that, would be established under paragraph Hll(1), or the total monthly repayment rate of principle and interest on all my Parkins Loans includin
this loan, is less than $30 per month, | shall repay the principal and interest on ‘this Ioan at the rate of $30 per month (Which includes both principal and interest),
(B) IF have received Perking Loans froin other institutions and.the total monthly repayment rate on those loans is less than $30, the $30 monthly payment established
under paragraph H(5){A) includes tite amounts I owe on all my outstanding Perkins Loans including those received from other institutions. The amount of this $30
rr ¥ payment that will be applied to.this loan will be the difference between $30 and the total af the amounts owed at a monthly rate on my other Parkins
ans. ° cui EE Werini? oe titre tpeiea eee te wee pe ae a aE
(6) The Lending institution may permit nfe td hay less’ than’ the ‘rate of $30 per month for a Peridd of not more than one’ year where nécessdry to avoid hardship
fo.me unless that action would extend tha repayment period in paragraph W(1).2., . ~ . :
(7) The Lending Institution may, upon iy tiitten request, reduce any scheduled repayments or extend the repayment period indicated in Paragraph Iil{ 1), if, if its opinion, ”
sxtraordinary circumstances such a8 prolonged iliness.or unemployment, prevent ma from making the scheduled repayments. However, interest shall continue to
accrue, . Le : - . : . - TT . . .
IV. PRIOR LOANS ——

| hereby certify that } have listed below all of the Perkins Loans | have obtained af Other | institutions. cuz no prior loans have been received, state “None”,) _ an

month

ere tt me

 

 

 

 

 

 

 

 

 

: M o% me 3 a
SaROGT $s IISNER® DAWN E%
LOAN NOt 1992NKNgQSQ935 05+28-92 a
11s Nowe? . SSN ™ 2 ==
2/5 . LOAN TYPE3 Pp RATES OS5e00% —
V. PREPAYMENT a GE ols amy meee ve Fe
{3 I may, at my option and without penalty, prepay ali or any part of the principal, plus any accrued interest thereon, at any time. | : : .
2) Amounts [ repay in the academic year in which the loan was made will be used to reduce the amount of the loan and will not be considered @ prepayrherit unless
that year is also the year in which | am required to begin repayment on thisTgan, en . .e te tee
(3) ff repay mare than the amount dus for any installment, the excess will i. to prepay principal unless. designate it as an advance payment of the next regular
installmen : come ee a vote rt DR Ba tee ee ES OF :
Vi. DEFAULT _ om ee oe ett te ee gg
(1) The Lending Institution may, at its"optiGn, detlare my loan to be'in default aid may demand immediate payrfient of the entire unpaid balance of the loan, including ~

principal, interest, late charges and collection costs if -

(A) do not make a scheduled payment when dus under the repayment schadule'zstablishad by the Lending Institution, and . wo
(B) 1 do not submit to the Lending Institution on or before the date on which paymant is due, docurnentatich that I'qualify for a. deferment or cancellation described
in Articles Vil, Vill, IX, X, Xi. or XH of this agreement. <= : a

ee ee ee - . . — wit OT me
2} lunderstand that if | defauft on my loan, the Lending Institution may disclose that | have defaulted, along with other relevant informatio;
3) Further, Lunderstand that if | default on my loan, and the loan is transferred to the Secretary for collection, th
with other'relevant information, to credit bureau organizations.  ‘. a ~
{3} l understand that jf | default on my loan, | will then lose my right to defer repaytients. . etm et 1 ot .
(5) | understand that after the Lending Institution accelerates the loan under Pafagraph VI(1). | will then losé-my right to receive a cancellation of ‘a portion of my loan
for any teaching, volunteer or military service described in Articles Vili, IX, Xand Xl, performed after the date the Lending Institution accelerated theloan. =; y.
(6) | understand that failure to pay this obligation under the terms agreed upon will prevent my obtaining additional Student financial aid authorized under Tille IV of
the Higher Education Act of 1965, as amended, until | have made arrangements which are satisfactory to_the Lending Institution or the Secretary regarding the

tion, to credit bureau organizations.
@ Secretary may disclose that I have defaulted, along

sre cee

tepayrment of the loan. a .

NOTICE TO BORROWER: DO NOT SIGN THIS NOTE BEFORE YOU READ IT, INCLUDING THE WRITING ON THE
SUPPLY 4 COPY OF THIS NOTE T6 YOU AND ANY COSIGNER. ,

Signature of Borrower LRT Ween, ay. __ Date Dan Ww, 17) “] 0

REVERSE SIDE. THE LENDING INSTITUTION MUST

 

 

 

Permanent Address 2A \ tend Tis Ks a Race en ONE. YEOLz - .
. (Street) J (City) (State) ip Cone) =

The borrower and Lending Institution shall execute this note without security and without endorsement unless. the borrower is'a miior and this note would j und
law of the State in which the Lending institution ig located, create a binding obligation: Hf the borrower is a minorand this nots would not, therafore: be legally ‘binding
the Lending Institution shall require a cosigner to this note: = : to te Lome nade vee et OTe, .

©

 

 

 

 

| AGREE TO REPAY ALL AMOUNTS DUE ON THIS LOAN IF THE BORROWER FAILS TODO SO IN ACCORDANCE WITH THE TERMS OF THE NOTE
Signature of Cosigner 2 oan ee Date ee
- — te tee lee pee om aa shee

 

 

Permanent Address Social Security Number

(Street) (City) 7° Bete) Zip Codey o* Htagatiakers 20
Rev. 6/88 ~ os NOTICE: SEE OTHER SIDE Fo ADDITIONAL conDITIONS «== | EAD QU RATERS 9

 
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VI. DEFERMENT

.
xh) t u lerstand, ae making a properly documented written “raquest to the Lending Institution, { may defer making scheduled instaliment paymentg. and wt
b fableto ue Neh fdrest that might otherwise accrue, during the following periods:

A) Whilé | am enrolled and in attendance as at least a half-time student at an institution ‘of higher “edudation or at a comparable institution outside the Bijedl
in “Bet \ \Staleiappibged for this purpose by the Secretary. Se gh
e ) For a period not to exceed three (3) years during which | am -
tly full-time dctive duty as a member of the Anmed Forces, of ‘the. United og sake es (Arr Naw 4 fe Forges Mal sine oa Pr Coast Guard) or the National
gosanic and Atmospheric Administration Corps, or as an officer. on fillet af id f rhission; tlhe United States Public Health

Ag) dee seivice as a vollinteer under the Péadd. Corfs Act, Te. 07 eGh Gash: ai ui bed

(if) A volunteer,under the Domestic Volunteer Service Act ‘of 1973, (ACTION programs),

(iv) A full-time volunteer in a tax-exempt organization performing service ebinparabla to the service ‘perfctmied i in the Peace Cosps or under the Domestic,
Volunteer Serviée Act of 1978 “pr owe

Guat (v) Temporarily totally disabled“a¢ bstablished by an affidavit of arava ied physi, or unable, to secure employment hecause hi am werovididlg cara fSquired
by adependent. whois so disabled; __. . Lae . fit gee f . . . .
(C} For a period not in excess of twa (2) years - - ve #

(i) After | receive a baccalaureate or professional degree during “which time | am serving in an internship which i is remuied j in order that I may teceive
professional recognition réquired to begin my professional practice of service, or .

{ii} serving in an‘internship or residengy program leading to a degree or certificate awarded by an institution of higher education, a hospital ora health care
facility that offers postgraduate training,

(D) For a petiod not in_excess of one (1) year during which, if | am a Mother of preschool age children, [have eftered or reentered the, work force, and am being .
. paid at d rate which does not exceed $1.00 above the minimuni hourly wags established by section @ of the Fair Labor Standards Act of 1938; ., ‘,
(E) For.a period not in excess of six months -

(i) That follows by six moriths or less of a period during which } was enrolled as at least a half-time ‘student at an eligible institution: and (ii) During which
jam pregnant, caring for my newborn baby, or caring for a child immediately after he or she was placed with me through adoption andi am neither |
attending an eligible institution of higher education nor gainfully employed; and

(F) .During a’six (6) month period immediataly followihg the expiration of any deferment provided i in paragraphs VII(1)(A) through VAKTY{E).

(2) The Lending Institution may, upon my written tequest, defer my scheduled repayments if it. determines that the deferment is nagessary to avoid a financial hardship
for me, Interest, however, will continue to gecrus. ao ae ee

Vill. CANCELLATION FOR TEACHING , ,

(1) Lunderstand that upon making a properly documented written request to the : Lending Institution, t am sntitled to ‘have ‘up to 100 fercent, of ‘the, amount of this -
loan plus the interest thereon canceled if Iperform service -

(A) As a full-time teacher in a public or othar nonprofit elementary or sacondary school which j is in thé school iis istriqt ‘ofa local educational agency which j is
eligible in such year of service. for funds under Chapter | of the Education Consolidation and Improvement Act of 1981, as amended, and which fas been
‘designated by the. Séprétary {after cdnsultation with each State Department of Education) in accordance with the provisians of saction.465(a)(2) of the’ Act .
as a schoal with,a high concentration of students from low-income families, An official Directory of designated low-incame schools is published annually by
the Secretary. <

(B} As a full-time jeacher of handicapped children (includk ing those who ara ‘mentally retarded, ‘hard of heating, deaf, speech and Janguage impaired, visually
handicapped, ‘seriously emotionally disturbed, orthopadically impaired, having specific learning disabilities, or are otherwise health-impaired children, who by
reason thereof require special education and related services) in a public or Sther non-profit elementaryor secondary school system.

(2) A portion’ “of this Iban will ba Gancefied for each gompleted year of teaching service at the following | rates: ”

{Ay 15 percent f the total principal amount of the Ipan plus interast pri the curipaid balance accruing during ‘that year will be canceled far each of. the ‘i rst and
second complete academic years of that teaching service,

(B) 20 percent of the total principal amount plus interest on the unpaid balance accruing during that year for each of, the third and fourth complete academic ©
years of that teaching service, and .

{C) 30 percent of the total principal amount plus intarest on the sinpaid’ balance aéerying during that at year for the fi ith compiete academic veer c of, that teaching
service. .°.

ae there a

” soe co .

1X. HEAD START CANCELLATION

(1) understand, that upon making a properly documented, written request to the Lending, Institution, | am entitled to have up ta 100 percent 1 of the armaunt_ OF this |
loan plus the interest thereon canceled if | perforrn service as a full-time staff member i in a Head Start program If - aa
(A) That Head Start program is operated for a period which is corhparabld to 4 full school year in the locality, and
yo eo now (B) My salary is not more. than the save of a comparable smployea of the lacal educational agency.

ie. y. This foan_will be canceled at the Tate Gf 15 percent of the total princi ipal amount Plus interest on the" unpaid balance aceruing during that year for each complete,
‘schoo! year or equivalent ‘period of service in a Head Start’ program,

: _) Head | Start i is a preschool program cantied out under the Head Star Apt,
x MILITARY: CANCELLATION

(1) Tunderstand that upon making a properly docurnented written request to the Lending Institution, | am entitled to have up to 50 percent of the principal amount
of this loan plus the interest thereon canceled if, serve as a member of the Armed Forges | of the, United Statps i in an. area af hostiities that sualifi jas for. Special,
pay under section 310 of, Title 37 of the United, States Code.

(2) This loan will be canceled at the rate of 1214 percent of the total principal amount plus interast.on the unpaid balan aceruing during that year for éach completa .
year of such service. 2

XL VOLUNTEER SERVICE CANCELLATION , . St . Sees

(1) Lunderstand that upon making a properly documented written request to the Lending Institution, | I am entitled to have up to 70 percent of the amadunt of, this
loan plus the jiterest. thereon canceled if lperformservice- - Sse
(A) As avolunteer under the Peace Corps Act; or . ne
(B) As a'volunteer under the Domesti¢ Volunteer Service Act of 1973. ‘ oo .

(2) a loan will be canceled at the following rates: .

(A) 15 percent of the total principal amount of the loan plus interest on the unpaid balance ‘will bp canceled, fot ihe fifst ir send “wolve-month period, of
voluritear Service completed;

(B) 20° percent of the total principal amount of the loan plus interest on the unpaid balance will be canceled for the thir! and fourth welve-rponth pefiod of
volunteer service completed.

 

    

- ge = - tet 7

sls

 

XH. DEATH AND DISABILITY CANCELLATION

(1) In the event of my death, the total amount owad on this Ioan will be canceled, ~
_ (2) IF becometotally and permanently disabled after. receive this loan, the Lending ‘jnstitution will cancel the total Amount of this loan.

XI. CHANGE IN NAME, ADDRESS, TELEPHONE NUMBER AND SOCIAL SECURITY NUMBER .
lam responsible, and any endorser i is responsible, for informing the Lending Institution of any change or changes ih name, address, telephone ‘number or social security

pum r ad
‘ 7 7 - 7”
XIV. ‘LATE:CHARGE’ “ae , -2°R 2 fe ye,
(1) The Lending Institution 5 walljmpose. a late gharge if - c : m
(A) I do.not make a schetlulad payment when itis isdugand 7 =F atht 2 # aeFto op weg de,

(B) | do nof submit to the Lending Institution oh GF before the date on which payment if tus, documentation that I auality for a ‘deférfrent or’ cancellation deséribed.
in Articles Vi, VIILIX. X, XI, and XILof this agreement

(2) No charge may exceed twenty (20) percent of my monthly payment. . ee SF
(3) (A) The Lending Institution may - aa . oo es Reo oye
(i) Add the late charge to the princigal the day after the scheduled repayment was due; or uh an ee mtg
(ii) Include it with the next scheduled repayment after Lhave received notice of the late charge. ,
{B) IF ain Lending Institution elects. to add the assessed charge to the outstanding principe of the foan, | it must 80 inform’ ma'before thie due date of the next.
installment.
XV. ASSIGNMENT - . . 7 . .

(1) This note may be assigned by the Landing Institution only to -
(A) The United States;

. (B) Another institution upon my transfer to that institution if that institution is patticipating i in this program: or
(C) Anather ir institutiqn approved by the Secretary.

(2) The provisiong of this note that relate to the Lending Institution shall, where appropriate, relate to an, assignee.

  
   

 
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